  Fill in this information to identify your case:                                                  Check one box only as directed in this form and in porm
                                                                                                    122A-1Supp:
  Debtor 1              Gabriel Ro'as
  Debtor 2
  (Spouse, if filing)
                                                                                                           1. There is no presumption of abuse

  United States Bankruptcy Court for the:             District of Arizona Tucson Division             D 2. The calculation to determine ifa presumption ofabuse
                                                                                                              applieswill be made under Chapter7 MeansTest
  Case number                                                                                                 Calculation (Official Form 122A-2).
  (if known)
                                                                                                      D 3. The Means Test does not apply now because of
                                                                                                             qualified military service but it could apply later.


 Official Form 122AC-J1                         8 3                                                    D Check if this is an amended filin<
                                                                                                                                FiLED USBC CLRK PHM
 Chapter7 Statement ofYourCurrent Monthly Income                                                                                    2018Nov7 AH11:3 12/15
 Be as complete and accurateas possible. Iftwo married people are filing together, both are equally responsible for being accurate. If more space is needed,
 attach a separatesheetto this form. Includethe line numberto whichthe additional information applies. On the top of any additionalpages, writeyour nameand
 case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
 qualifyin military service, complete and file Statementof Exemption from Presumption ofAbuseUnder§ 707(b)(2) (Official Form 122A-1Supp)with this form.
  Part 1:           Calculate Your Current Monthly Income
   1. What is your marital and filing status? Check one only.
         D Notmarried. Fill out Column A, lines2-11 .
         D Marriedandyourspouseis filingwithyou. Fill outbothColumnsA and B, lines2-11.
               Married and your spouse is NOT filing with you. You and your spouse are:
               D Livinginthe samehouseholdandare not legally separated.Fill out both ColumnsA and B, lines2-11.
              Livingseparately or are legally separated. Fill out ColumnA, lines 2-11;do not fill out Column B. By checkingthis box, you declare under
               penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
               living apartfor reasons that do not include evadingthe MeansTest requirements. 11 U.S.C § 707(b)(7)(B).
     Fill intheaveragemonthly incomethatyou received(rom all sources,derivedduringthe6 full monthsbeforeyou filethisbankruptcycase. 11 U.S.C. §
        1(1OA). For example, Ifyou are filing on September 15, the 6-month period would be March 1 through August 31 Ifthe amount of your monthly meorae varied during
     the 6 months, addthe incomefor all 6 monthsand dividethe total by6. Fffl in the resuit. Donot inetudeanyInsome amountfflorethan once. Forexample, if both
     spousesownthe samerental property, put the Incomefromthatproperty in onecolumn only. Ifyou havenothingto reportfor anyline,write $0In the space.
                                                                                                       Column A                 Column B
                                                                                                       Debtor 1                 Debtor 2 or
                                                                                                                                non-filing spouse
   2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
      payroll deductions).                                                                                       1, 350. 00     $
   3. Alimony and maintenance payments. Do not include payments from a spouse if
        Column B is filled in.                                                                                        0.00      $
   4. All amounts from any source which are regularly paid for household expenses
      of you or your dependents, including child support. Include regular contributions
        from an unmarried partner, members ofyour household, yourdependents, parents,
      and roommates. Include regular contributions from a spouse only if Column B is not
      filled in. Do not include payments you listed on line 3.                                                        0.00 $
   5. Net income from operating a business, profession, or farm
                                                                        Debtor 1
        Gross receipts (before all deductions)                             $     0. 00
        Ordinaryand necessaryoperating expenses                            $     0.00
        Net monthly income from a business, profession, or farm $                0.00 Copy here -> $                  0.00      $

  6. Net income from rental and other real property
                                                                                    Debtor 1
        Gross receipts (before all deductions)                             $     0.00
        Ordinaryand necessaryoperating expenses                            $     6. 00
        Net monthly income from rental or other real property              i     0.00 Copy here->$                    0.00      $
                                                                                                       $              0.00      $
  7. Interest, dividends, and royalties




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                                                                     Main Document    Page 1 of 2
  Debtor 1       Gabriel Ro'as                                                                               Casenumber(if known)



                                                                                                         Column A                   Column B
                                                                                                         Debtor 1                   Debtor 2 or
                                                                                                                                    non-filing spouse
    8. Unemployment compensation                                                                                          0.00      $
        Do not enter the amount if you contend that the amount received was a benefit under
        the Social Security Act. Instead, list it here:
           For you                                          $                   0. 00
             For your spouse                                         $
   9. Pension or retirement income. Do not include any amount received that was a
       benefit under the Social Security Act.                                                                             0.00
   10. Income from all other sources not listed above. Specify the source and amount.
        Do not include any benefits received underthe SocialSecurityAct or payments
        received as a victim of a war crime, a crime against humanity, or international or
        domestic terrorism. If necessary, list other sources on a separate page and put the
        total below.
                    Foodstam s                                                                           $             192. 00
                                                                                                         $               0.00
                   Total amounts from separate pages, if any.                                        +$                  0.00
   11. Calculate your total current monthly income. Add lines 2 through 10 for
       each column. Then add the total for Column A to the total for Column B.                         1,542. 00                                             1, 542. 00

                                                                                                                                                    Total current monthly
                                                                                                                                                    income

  Part 2:         Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
        12a. Copy your total current monthly income from line 11                                                  Copy line 11 here=>           $            1,542. 00

               Multiply by 12 (the number of months in a year)                                                                                       x 12
        12b. The result is your annual income for this part of the form                                                                   12b. $       18, 504. 00

   13. Calculate the median family income that applies to you. Follow these steps:

        Fill in the state inwhichyou live.                                      AZ

        Fill in the number of people in your household.                           1

        Fill in the median family income for your state and size of household.                                                            13. $          48, 369. 00
       To find a list ofapplicablemedian income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk's office.
   14. How do the lines compare?

        14a.           Line 12b is less than or equal to line 13. On the top ofpage 1, check box 1, There is no presumption ofabuse.
                       Go to Part 3.
       14b. D Line12bismorethanline 13. Onthetopofpage1, checkbox2, ThepresumptionofabuseisdeterminedbyForm122A-2.
                       Go to Part 3 and fill out Form 122A-2.
 Part 3:         Sign Below
               By signing here, I declare un           enalty of perjury that the information on this statement and in any attachments is true and correct.

             x
                   abriel Rojas
                  Signature of Debtor 1
         Date //-^? ^/y
                  MM/DD /YYYY
               If you checked line 14a, do NOT fill out or file Form 122A-2.
               If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                       Chapter7 Statement of Your Current Monthly Income                                                      page 2
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